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                DISTRICT COURT OF THE VIRGIN ISLANDS
                 DIVISION OF ST. THOMAS & ST. JOHN


LAWRENCE CARTY, et al.,                 )
                                        )
                Plaintiff,              )
                                        )
                v.                      )     Civil No. 1994-78
                                        )
ALBERT BRYAN, et al.,                   )
                                        )
                Defendants.             )
                                        )


ATTORNEYS:

Eric Balaban
National Prison Project of the ACLU
Washington, DC
     For the plaintiff Lawrence Carty,

Denise George-Counts, Attorney General
Carol Thomas-Jacobs, AAG
Ariel Marie Smith-Francois, AAG
Virgin Islands Department of Justice
Christiansted, VI
     For the defendant Governor Albert Bryan.


                                  ORDER

GÓMEZ, J.

     On September 11, 2019, the Court held a quarterly

evidentiary hearing in this matter. After the evidentiary

hearing, the parties met with the Court briefly to discuss the

near-term, mid-term, and long-term tasks suggested by the Court

Experts in response to the Court’s August 2, 2019, order. See

Order, August 2, 2019, ECF No. 1133; A Plan of Near-Term, Mid-
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term and Long-Term Objectives to Achieve Substantial Compliance

with Settlement Agreement Provisions, ECF No. 1143-1; Proposed

Near, Mid and Long-Term Mental Health Tasks, ECF No. 1144-1.

Such tasks were suggested as one pathway by which the Virgin

Islands Bureau of Corrections (“BOC”) could come into

substantial compliance with the Settlement Agreement adopted and

entered as an Order of the Court on August 29, 2013, (the “2013

Settlement Agreement”) and the October 12, 1994, Settlement

Agreement (the “1994 Settlement Agreement”) in this matter.

     At the post-hearing conference, the BOC reasserted several

of the objections it had filed in response to the tasks

recommended by the Court Experts. See Defs.’ Objections to the

Ct. Experts Proposed Near-Term, Mid-Term and Long Term Tasks,

ECF No. 1159. Significantly, the BOC has not presented any

alternative tasks by which it could achieve substantial

compliance with the 1994 and 2013 Settlement Agreements.

     The premises considered, it is hereby

     ORDERED that, no later than 3:00 p.m. on September 25,

2019, the BOC shall file a plan proposing specific,

demonstrable, and tangible tasks necessary to be undertaken to
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obtain substantial compliance with the provisions of the 1994

and 2013 Settlement Agreements; it is further

     ORDERED that to the extent he wishes to do so, Carty shall

file any response to the BOC’s proposed plan by no later than

3:00 p.m. on October 1, 2019.



                                        S\
                                              Curtis V. Gómez
                                              District Judge
